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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


Kimberly Edelstein,

              Plaintiff,

              V.                                      Case No.1:17cv305

Judge Greg Stephens,                                  Judge Michael R. Barrett

              Defendant.


                      INTERROGATORY ONE - EIRST AMENDMENT
YOU MUST UNANIMOUSLY AGREE ON THE ANSWERS TO THE FOLLOWING
QUESTIONS:
      1.      Did Plaintiff prove by a preponderance of the evidence Defendant violated

the First Amendment's Free Exercise clause under 42 U.S.C. § 1983?

                      Yes_✓
                          -"'--                No - - - -

If your answer to Question 1 is Yes, please proceed to Question 2. If you answer

to Question 1 is No, please stop here and sign below.

      2.      What amounts of damages, if any, did Plaintiff prove by a preponderance

of the evidence were directly caused to her by Defendant's decision to terminate her

employment?

              a)      back pay                        $   :b)5,000
              b)      front pay                       $    0
              c)      compensatory damages            $250 ,,000
Please proceed to Question 3.




                                           1
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       3.      Did Defendant prove by a preponderance of the evidence that Plaintiff failed

to mitigate her damages?

                      Yes - - - -                          ✓
                                                   No - ~ - -

If your answer to Question 3 is Yes, please proceed to answer Question 4. If your

answer to Question 3 is No, please proceed to answer Question 5.

       4.     By what amount did Defendant prove by a preponderance of the evidence

that your award of damages to Plaintiff should be reduced?

                             $ __       -=------
                                        C)
Please proceed to answer Question 5.

       5.     What amount of money, if any, do you award to Plaintiff as punitive

damages against Defendant for conduct which was malicious or in reckless disregard of

Plaintiffs rights as defined in the jury instructions?




Our answers to the foregoing Interrogatories are entered unanimously .




                                                   Date:   OZ(05 /202~
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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


Kimberly Edelstein,

              Plaintiff,

              v.                                      Case No. 1:17cv305

Judge Greg Stephens,                                  Judge Michael R. Barrett

              Defendant.


           INTERROGATORY TWO - EQUAL PROTECTION AND OHIO LAW
YOU MUST UNANIMOUSLY AGREE ON THE ANSWERS TO THE FOLLOWING
QUESTIONS:
      1.      Did Plaintiff prove by a preponderance of the evidence Defendant violated

the Fourteenth Amendment's Equal Protection Clause under 42 U.S.C. § 1983 and

Ohio Revised Code§ 4112.02?

                      Yes - --    -
                                               No   ____.L..__
If your answer to Question 1 is Yes, please proceed to Question 2. If you answer

to Question 1 is No, please stop here and sign below.

      2.      What amounts of damages, if any, did Plaintiff prove by a preponderance

of the evidence were directly caused to her by Defendant's decision to terminate her

employment?

              a)      back pay                        $_ _ _ _ __ _

              b)      front pay                       $_ _ _ _ _ __

              c)      compensatory damages            $_ _ _ _ __

Please proceed to Question 3.


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       3.     Did Defendant prove by a preponderance of the evidence that Plaintiff failed

to mitigate her damages?

                      Yes - - - - -                No - - - - -

If your answer to Question 3 is Yes, please proceed to answer Question 4. If your

answer to Question 3 is No, please proceed to answer Question 5.

       4.     By what amount did Defendant prove by a preponderance of the evidence

that your award of damages to Plaintiff should be reduced?

                             $ _ _ _ _ _ _ __

Please proceed to answer Question 5.

       5.     What amount of money, if any, do you award to Plaintiff as punitive

damages against Defendant for conduct which was malicious or in reckless disregard of

Plaintiffs rights as defined in the jury instructions?

                             $ _ _ _ _ __ _ _ _ _ __



Our answers to the foregoing Interrogatories are entered unanimously.




                                                   Date:   02. /0 5 / W03
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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


Kimberly Edelstein,

              Plaintiff,

              V.                                       Case No. 1:17cv305

Judge Greg Stephens,                                   Judge Michael R. Barrett

              Defendant.


                              GENERAL VERDICT FORM


On Plaintiff's claim under 42 U.S.C. § 1983 for alleged violation of the First Amendment's
Free Exercise clause against Defendant, we find in favor of:


__\~/ _ __ Plaintiff OR _ _ __ _ Defendant

On Plaintiff's claims under 42 U.S.C. § 1983 for alleged violation of the Fourteenth
Amendment's Equal Protection Clause and religious discrimination under Ohio Revised
Code § 4112.02 against Defendant, we find in favor of:


                                 ✓
- -- - - Plaintiff OR - - - - - - Defendant

Executed in Cincinnati, Ohio, on this    ()3    day of February, 2023.




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